                        Case 1:16-cv-03502-HBP Document 33 Filed 10/07/16 Page 1 of 2
                                                         LAW OFFICES OF
                                                  MICHAEL K. CHONG                            LLC
                                                     2 EXECUTIVE DRIVE, STE. 720
                                                     FORT LEE, NEW JERSEY 07024
                                                  (201) 708-6675 FAX (201) 708-6676
                                                           ____________________
                                                         WWW. MKCLAWGROUP.COM

MICHAEL K. CHONG ‡                                               NEW YORK:                                     HOBOKEN:
    ___________________________________________
                                                        1250 BROADWAY 36TH FL. STE. 300                300 HUDSON STREET. STE. 10
‡ MEMBER, NJ BAR, U.S.D.C. NEW JERSEY                     NEW YORK, NEW YORK 10001                    HOBOKEN, NEW JERSEY 07030
  SDNY, NEW YORK                                        (212) 726-1104   FAX (212) 726-3104         (201) 203-7476   FAX (201) 708-6676
  EDNY, NEW YORK
  U.S.C.A. 2ND CIRCUIT
                                                            * Please Reply to: FORT LEE                DIRECT DIAL: (201) 947-5200
                                                                                                     EMAIL: MKC@MKCLAWGROUP.COM


                                                               October 7, 2016

  Via ECF; Total Pages: 1
  Hon. Alison Nathan, U.S.D.J.
  U.S. District Court
  40 Foley Square
  New York, New York 10007

                   Re:               Redwood v. Cassway Contracting Corp. et al.
                                     Docket No.: 1:16-cv-3502

  Dear Judge Nathan:

          This office represents Defendant JS & JR Construction Corp. in the above referenced
  matter. I am writing in response to Plaintiff's filings dated October 7, 2016 (Document 31 & 32).

                   1.                Response to Plaintiff's Filing (Document 31)

          I did have a meeting with my clients Jose Luis Suarez and Jackson Ramone on August
  31, 2016 at approximately 2:00 p.m. My clients did bring an unidentified third party. I did not
  know my clients were bringing anyone with them. I asked who it was, and he identified himself
  as Eduardo Redwood. I then instructed Mr. Redwood to leave my office and wait outside my
  office in a separate conference room across the hall, as I advised him that I could not speak with
  him as he is represented by counsel. I was not aware that my clients were bringing Eduardo
  Redwood to my office. I did not engage in any direct communications with the Plaintiff, other
  than the above. I spoke to my clients only. I spoke with my clients in my office and advised them
  to leave and schedule an appointment to come back to my office on an alternate date, and that I
  would only meet with them. I further advised my clients that they should not engage in any direct
  communications with the Plaintiffs. My clients advised that Plaintiffs had contacted them. My
  clients rescheduled their appointment and came back to my office on September 22, 2016.

          As to the Settlement Agreement that was signed by Plaintiffs with notarized signatures, I
  am concerned as to their claims that they are now denying their agreement to settle this matter,
  and whether anything may be affecting their statements. My clients had advised me that, on their
  own accord, the parties did meet, and that the parties all mutually agreed to settle this matter, and
  that they all signed the settlement agreement with notarized signatures.

                                                                         1
            Case 1:16-cv-03502-HBP Document 33 Filed 10/07/16 Page 2 of 2

       Upon learning of this settlement document appears to be a settlement and requested that
it should be evaluated by the court. I advised Plaintiff's counsel that since there is a basic
settlement agreement in place, it could be formalized, and as the settlement is early in this case,
the parties could agree to Plaintiff's counsel filing an application for attorney's fees. The
settlement could then be fully reviewed by the court pursuant to the Cheeks decision. Plaintiff's
counsel responded with multiple emails seeking to deny the settlement.

        I am concerned that due to the fee shifting provisions of the FLSA, that Plaintiff's counsel
has an interest in not seeing this matter settle at such an early stage. The affidavits submitted by
each Plaintiff have a level of sophistication that indicate guidance.

       2.       Response to Plaintiff's Filing (Document 32)

         Plaintiff's counsel has also filed an additional letter dated October 7, 2016 (Document
32). It is misguided letter to the court falsely representing that I am not admitted to the SDNY. I
am admitted to the SDNY. The Clerk's office of the SDNY can confirm this. If Plaintiff's counsel
had simply contacted the Clerk's office, they could have confirmed, before making this
misguided representation to the court.

       I can only imagine that Plaintiff's counsel is taking this tactic in their efforts to quash the
Settlement Agreement that was signed by their clients.

       Thank you for your kind courtesies in addressing this matter.


                                                              Respectfully submitted,

                                                              Michael K. Chong
                                                              Michael K. Chong, Esq.




MKC/
cc:  All counsel




                                                  2
